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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

State of Illinois
                            Plaintiff,
v.                                                 Case No.: 1:17−cv−06260
                                                   Honorable Robert M. Dow Jr.
City Of Chicago
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 5, 2020:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Status hearing held with
counsel for the State of Illinois, the City of Chicago, the Coalition, and the FOP, as well
as the Independent Monitor and members of her team participating by telephone.
Settlement conference set for 6/24/2020 at 1:30 p.m. and in−court status hearing set for
7/24/2020 at 10:00 a.m. Mailed notice(cdh, )




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